 Case 2:22-cv-00267-SAB   ECF No. 1-2   filed 11/07/22   PageID.14 Page 1 of 27




                             EXHIBIT B




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 13 -
  Case 2:22-cv-00267-SAB                  ECF No. 1-2    filed 11/07/22      PageID.15 Page 2 of 27




                                                               FILED
 1                                                             8/30/2022
 2                                                             Timothy W Fitzgerald
                                                               Spokane County Clerk
 3

 4

 5                                             STATE OF WASHINGTON
                                          SPOKANE COUNTY SUPERIOR COURT
 6
   NATIONAL CENTER FOR PUBLIC POLICY                      22-2-02945-32
 7 RESEARCH,

 8                           Plaintiff,
 9                                                       COMPLAINT
              v.
                                                         JURY DEMAND
10 HOWARD SCHULTZ, ET AL.,

11                          Defendant.
12             Plaintiff alleges the following based upon personal knowledge as to the Plaintiff and the
13 Plaintiff's own acts, and upon information and belief as to all other allegations, based on

14 investigation of counsel. This investigation included, inter alia, a review of public statements and

15 disclosure materials prepared by the Defendants in this action (the "Defendants") and by those

16 working under the direction of the Defendants. The Plaintiff believes that substantial evidentiary

17 support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

18                                              I. INTRODUCTION
19 1. The individual Defendants are exactly the kind of people who should (and did) know better —

20        sophisticated businesspeople, who, together, run Starbucks Corporation ("Starbucks"), the
21        world's largest chain of coffeehouses.
22 2. Despite their knowledge and sophistication — or perhaps because of it — the individual

23        Defendants adopted for Starbucks a collection of seven (7) policies, which, between them: (a)
24        require Starbucks to discriminate based on race and facilitate Starbucks' active discrimination
25        based on race in its employment decisions (including its hiring, firing, and promotions); (b)
26        require Starbucks to discriminate in its compensation of its officers based on the race of their
27

COMPLAINT-JURY DEMAND - 1                                                        ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                           P.O. Box 11633
                                                                                 Bainbridge Island, WA 98110
                                                                                 Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 14 -
  Case 2:22-cv-00267-SAB               ECF No. 1-2        filed 11/07/22       PageID.16 Page 3 of 27




 1        workforce; and (c) discriminate in its contracting with suppliers and media companies, based

 2        on the race of potential vendors' ownership.

 3 3. Starbucks, acting through its officers and directors, crafted and publicized these policies with

 4        fanfare, preening over the supposed moral virtue their adoption signaled. The individual

 5        Defendants took these actions despite knowing of a glaring, inconvenient fact: the policies they

 6        so trumpeted flagrantly violate a wide array of state and federal civil rights laws. The individual

 7        Defendants continue to have Starbucks pursue these policies and brag of pursuing them

 8        through its corporate website despite that knowledge.

 9 4. The Plaintiff warned the individual Defendants of both the policies' illegality and of the

10        resulting exposure for Starbucks that the individual Defendants' actions had created. The

11        Plaintiff warned that the policies invited a nearly endless collection of meritorious lawsuits,

12        bringable by a nearly innumerable collection of private and public claimants, each of whom

13        would potentially be entitled by statute to collect from Starbucks uncapped, punitive damages.

14        The Plaintiff demanded that the individual Defendants take action to address these risks, that

15        they immediately, publicly retract the policies, and that they return Starbucks to compliance

16        with American civil rights law.

17 5. On July 22, 2022, the individual Defendants — acting through counsel — responded in writing

18        that Starbucks would take no relevant action to correct course and reduce the exposure they

19        had created for it and its shareholders.

20 6. By adopting, implementing, and retaining for Starbucks these policies, with knowledge of their

21        illegality, the individual Defendants endangered Starbucks and the interests of all its

22        shareholders in Starbucks. They violated their fiduciary obligations to all Starbucks'

23        shareholders and they continue to violate those duties, with full knowledge of the resulting

24        risks they have imposed on their investors. More, they did so (and continue to do so) outside

25        their corporate authority to lawfully pursue business on behalf of Starbucks' owners. And why

26        do they do so? Because it benefits them personally to pose as virtuous advocates of "Inclusion,

27

COMPLAINT-JURY DEMAND - 2                                                          ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                             P.O. Box 11633
                                                                                   Bainbridge Island, WA 98110
                                                                                   Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 15 -
  Case 2:22-cv-00267-SAB             ECF No. 1-2        filed 11/07/22      PageID.17 Page 4 of 27




 1        Diversity, and Equity," even if it harms the company and its owners — a classic example of

 2        (admittedly non-pecuniary) self-dealing.

 3 7. They must be stopped from intentionally, systematically violating America's civil rights laws,

 4        from wasting the value of Starbucks to its owners, and from diverting the shareholders'

 5        corporate resources to their personal use in buying themselves social-credit.

 6                                     II. JURISDICTION AND VENUE

 7 8. This Court has subject matter jurisdiction over this matter pursuant to RCW 4.12.025.

 8 9. Starbucks conducts business in Spokane County. This Court has personal jurisdiction over the

 9        parties and venue is proper in Spokane County pursuant to RCW 4.12.020.

10                                              III. PARTIES

11 A. The Plaintiff

12 10. The National Center for Public Policy Research is a Delaware non-profit corporation, with its

13        principal place of business in Washington, DC. The National Center for Public Policy

14        Research is, and has long been, a shareholder of Starbucks.

15 B. The Nominal Corporate Defendant

16 11. Starbucks is a Washington Corporation with a principal place of business in Seattle,

17        Washington.

18 C. Starbucks' Officers and Directors

19 12. At the time of the Demand Letter, Kevin Johnson was the President of Starbucks and a Director

20        of Starbucks. Mr. Johnson is a resident of Washington State.

21 13. Howard Schultz is the Interim CEO of Starbucks and a Director of Starbucks. Mr. Schultz is a

22        resident of Washington State.

23 14. At the time of the Demand Letter, John Culver was the Group President of Starbucks, North

24        America and the COO of Starbucks. Mr. Culver is a resident of Washington State.

25 15. Rachel Ruggeri is the Executive Vice President and CFO of Starbucks. Ms. Ruggeri is a

26        resident of Washington State.

27

COMPLAINT-JURY DEMAND - 3                                                       ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                          P.O. Box 11633
                                                                                Bainbridge Island, WA 98110
                                                                                Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 16 -
  Case 2:22-cv-00267-SAB              ECF No. 1-2         filed 11/07/22   PageID.18 Page 5 of 27




 1 16. At the time of the Demand Letter, Ted Adams was the Senior Vice President of Starbucks for

 2        Government Affairs, Public Policy & Community Impact. Mr. Adams is a resident of

 3        Washington State.

 4 17. Tyson Avery is a Senior Vice President of Starbucks, as well as its Deputy General Counsel

 5        and Chief Ethics and Compliance Officer. Mr. Avery is a resident of Washington State.

 6 18. Kelly Bengston is the Senior Vice President of Starbucks for Global Sourcing and its Chief

 7        Procurement Officer. Ms. Bengston is a resident of Washington State.

 8 19. Brady Brewer is an Executive Vice President of Starbucks and its Chief Marketing Officer.

 9        Mr. Brewer is a resident of Washington State.

10 20. Dennis Brockman is a Senior Vice President of Starbucks and its Chief Inclusion & Diversity

11        Officer. Mr. Brockman is a resident of Washington State.

12 21. George Dowdie is the Executive Vice President of Starbucks for Global Supply Chain. Mr.

13        Dowdie is a resident of Washington State.

14 22. Jen Frisch is the Senior Vice President of Starbucks for Partner Resources, U.S. Retail,

15        Licensed Stores & Operations Services. Ms. Frisch is a resident of Washington State.

16 23. Shannon Garcia is the Senior Vice President of Starbucks for U.S. Operations. Ms. Garcia is a

17        resident of Washington State.

18 24. At the time of the Demand Letter, Rachel Gonzalez was an Executive Vice President of

19        Starbucks and its General Counsel. Ms. Gonzalez is a resident of Washington State.

20 25. Zabrina Jenkins is a Senior Vice President of Starbucks and its Deputy General Counsel. Ms.

21        Jenkins is a resident of Washington State.

22 26. A.J. Jones, II is the Senior Vice President of Starbucks for Global Communications and Public

23        Affairs. Mr. Jones is a resident of Washington State.

24 27. Sara Kelly is the Senior Vice President of Starbucks for Talent & Partner Experience. Ms.

25        Kelly is a resident of Washington State.

26 28. Jennifer Kraft is Starbucks' Corporate Secretary, as well as a Senior Vice President of

27        Starbucks and its Deputy General Counsel. Ms. Kraft is a resident of Washington State.

COMPLAINT-JURY DEMAND - 4                                                     ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                        P.O. Box 11633
                                                                              Bainbridge Island, WA 98110
                                                                              Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 17 -
  Case 2:22-cv-00267-SAB              ECF No. 1-2        filed 11/07/22     PageID.19 Page 6 of 27




 1 29. Angela Lis is the Starbucks' Chief Partner Officer and its Executive Vice President of Partner

 2        Resources. Ms. Lis is a resident of Washington State.

 3 30. Carl Mount is the Senior Vice President of Starbucks for Logistics & U.S. Retail Supply Chain.

 4        Mr. Mount is a resident of Washington State.

 5 31. Denise Nelsen is a Senior Vice President of Starbucks for U.S. Operations. Ms. Nelsen is a

 6        resident of Washington State.

 7 32. Anju Rao is the Senior Vice President of Starbucks for Global Safety, Quality, & Regulations.

 8        Ms. Rao is a resident of Washington State.

 9 33. Kyndra Russell is the Senior Vice President of Starbucks for Marketing. Ms. Russell is a

10        resident of Washington State.

11 34. Debbie Stroud is a Senior Vice President of Starbucks for U.S. Operations. Ms. Stroud is a

12        resident of Washington State.

13 35. At the time of the Demand Letter, Rosann Williams was an Executive Vice President of

14        Starbucks and the President of Starbucks North America. Ms. Williams is a resident of

15        Washington State.

16 36. Gina Woods is the Executive Vice President of Starbucks for Public Affairs and Social Impact.

17        Ms. Woods is a resident of Washington State.

18 37. Ms. Woods, together with Mr. Johnson, Mr. Schultz, Mr. Culver, Ms. Ruggeri, Mr. Adams,

19        Mr. Avery, Ms. Bengston, Mr. Brewer, Mr. Brockman, Mr. Dowdie, Ms. Frisch, Ms. Garcia,

20        Ms. Gonzalez, Ms. Jenkins, Mr. Jones, Ms. Kelly, Ms. Kraft, Ms. Lis, Mr. Mount, Ms. Nelsen,

21        Ms. Rao, Ms. Russell, Ms. Stroud, and Ms. Williams, are hereafter referred to as the "Starbucks

22        Officers."

23 38. Mellody Hobson is the Board Chairman of Starbucks. Ms. Hobson is a resident of California.

24 39. Richard E. Allison, Jr. is a Director of Starbucks. Mr. Allison is a resident of Michigan.

25 40. Andrew Campion is a Director of Starbucks. Mr. Campion is a resident of Oregon.

26 41. Mary N. Dillon is a Director of Starbucks. Ms. Dillon is a resident of Illinois.

27

COMPLAINT-JURY DEMAND - 5                                                       ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                          P.O. Box 11633
                                                                                Bainbridge Island, WA 98110
                                                                                Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 18 -
  Case 2:22-cv-00267-SAB              ECF No. 1-2        filed 11/07/22      PageID.20 Page 7 of 27




 1 42. Isabel Ge Mahe is a Director of Starbucks. Ms. Mahe is a citizen of the People's Republic of

 2        China.

 3 43. Jorgen Vig Knudstorp is a Director of Starbucks. Mr. Knudstorp is a subject of the Kingdom

 4        of Denmark.

 5 44. Satya Nadella is a Director of Starbucks. Mr. Nadella is a resident of Washington State.

 6 45. Joshua Cooper Ramo is a Director of Starbucks. Mr. Ramo is a resident of New York State.

 7 46. Clara Shih is a Director of Starbucks. Ms. Shih is a resident of California.

 8 47. Javier G. Teruel is a Director of Starbucks. Mr. Teruel is a citizen of Mexico.

 9 48. Mr. Teruel, together with Mr. Johnson, Mr. Schultz, Ms. Hobson, Mr. Allison, Mr. Campion,

10        Ms. Dillon, Ms. Mahe, Mr. Knudstorp, Mr. Nadella, Mr. Ramo, and Ms. Shih, are hereafter

11        referred to as the "Starbucks Directors."

12 49. The Starbucks Directors and the Starbucks Officers are hereafter jointly referred to as the

13        "Starbucks D&O."

14                                                IV. FACTS

15 A. Adoption of the Policies.

16 50. According to the "Starbucks Stories" section of Starbucks' own corporate website, in October

17        2020, Starbucks announced a series of policies to realize its "commitment to Inclusion,

18        Diversity, and Equity[.]" Avoiding any ambiguity over whether these commitments were

19        actually policy or merely projections of the likely results from ongoing, non-discriminatory

20        trends, the Commitment Page expressly "committed" Starbucks "to taking further actions

21        toward tangible and lasting change" in its corporate structure and behavior.

22 51. Among the policies and concrete steps announced on the Commitment Page, Starbucks

23        announced its: (a) adoption of the "goals" of "achieving BIPOC representation of at least 30%

24        at all corporate levels and at least 40% at all retail and manufacturing roles by 2025" ("Policy

25        1"); (b) commitment to "complet[ion of] the roll out of an analytics tool that will provide

26        leaders with visibility to current diverse representation relative to Starbucks representation

27        goals" ("Policy 2") (c) "incorporat[ion of] measurements focused on building inclusive and

COMPLAINT-JURY DEMAND - 6                                                        ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                           P.O. Box 11633
                                                                                 Bainbridge Island, WA 98110
                                                                                 Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 19 -
  Case 2:22-cv-00267-SAB               ECF No. 1-2        filed 11/07/22      PageID.21 Page 8 of 27




 1        diverse teams in to [Starbucks'] executive compensation programs beginning in FY21"

 2        ("Policy 3"); and (d) entry into "the Board Diversity Action Alliance to act alongside peer

 3        companies as we are committed to representation of racially and ethnically diverse directors

 4        on corporate boards of directors" ("Policy 4"). It is worth noting that the Commitment Page's

 5        assertion that the Board Diversity Action Alliance seeks "representation of racially and

 6        ethnically diverse directors on corporate boards of directors" materially misstates the actual

 7        commitment made by all Board Diversity Action Alliance signatories — they do not commit to

 8        seek racial or ethnic diversity, they "commit to: 1. Increase the number of Black directors[.]"

 9        The Commitment Page also announced that Starbucks would "continue to publicly share our

10        Inclusion and Diversity commitments, goals, and progress through annual reporting."

11 52. Almost as promised, in January 2022, Starbucks provided precisely such an update. Again,

12        Starbucks left no ambiguity as to the materiality of the update's contents, as the Update Page

13        quotes Starbucks Chief Global Inclusion and Diversity Officer Dennis Brockman as stating

14        that "Through intentionality, transparency and accountability, I believe we will continue to

15        make substantial change on behalf of all our [employees]."

16 53. What are those "substantial changes" the Update Page announced Starbucks would continue

17        "through intentionality" to pursue? The Update Page reiterated that Policy 3 had been

18        effectuated and "continues to hold accountab[le] the highest levels of the organization" to "the

19        building of inclusive and diverse team building[.]" It further disclosed: (a) the existence of the

20        Starbucks Supplier Diversity and Inclusion program[, which] drives inclusion of qualified

21        businesses with a focus on suppliers of all sizes and categories" — according to the Update

22        Page, Starbucks has "announc[ed that] it will increase its spend with diverse suppliers" from

23        $800 million "to $1.5 billion by 2030" ("Policy 5"); (b) "a commitment in the next year to

24        allocating 15 percent of [Starbucks'] advertising budget with minority-owned and targeted

25        media companies" ("Policy 6"); and (c) the "launch [of] a Leadership Accelerator Program"

26        that "will focus on empowering [employee] capacity for self-promotion, advocacy and career

27        navigation" to facilitate entry into "the leadership pipeline at Starbucks[,]" but which Starbucks

COMPLAINT-JURY DEMAND - 7                                                          ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                             P.O. Box 11633
                                                                                   Bainbridge Island, WA 98110
                                                                                   Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 20 -
  Case 2:22-cv-00267-SAB               ECF No. 1-2        filed 11/07/22       PageID.22 Page 9 of 27




 1        will make available initially only to its "BIPOC [employees] at the individual contributor

 2        level" ("Policy 7" and, together with Policies 1, 2, 3, 4, 5, and 6, the "Policies").

 3 B. Warning of Illegality

 4 54. On March 25, 2022, the American Civil Rights ("ACR") Project published an open letter to

 5        the Starbucks D&O (sent on behalf of the Plaintiff), which warned of the risks to which the

 6        Policies exposed Starbucks and its shareholders (the "Demand Letter"). The ACR Project

 7        simultaneously sent the Demand Letter on March 25, 2022 to the Starbucks D&O by email (as

 8        instructed by the Starbucks investor website) and First-Class, Certified U.S. Mail, Return

 9        Receipt Requested.

10 55. On March 31, 2022, on behalf of all the Defendants, Starbucks' authorized agent accepted

11        delivery of the hard-copy of the Demand Letter sent through certified mail.

12 56. The Demand Letter warned that Policies 1, 4, 5, 6, and 7 expressly compel Starbucks to make

13        contracting decisions based on race, that Policy 2 has no conceivable use other than to advance

14        Starbucks' race-based decisionmaking in contracting, that Policy 3 makes Starbucks'

15        executive compensation dependent on the demonstrated proof that such executives have made

16        race-based contracting decisions, and that Policy 3, itself, constitutes indirect race-based

17        contracting, through its differential treatment of management, depending on the race of their

18        teams.

19            1.         Warning Concerning § 1981

20 57. The Demand Letter warned that the Policies — through their express commitments to racial

21        discrimination in contracting — violated any number of state and federal laws.

22 58. The Demand Letter highlighted that Congress had prohibited anyone from engaging in this

23        kind of discrimination in private contracting based on race through the Civil Rights Act of

24        1866 (in the provision now codified at 42 U.S.C. § 1981), even quoting Justice Ginsburg's

25        conclusion in her Corneas! Corp. v. Nat'l Ass 'n of Afr. Am.-Owned Media opinion, 104 S. Ct.

26        1009, 1020 (2020), that § 1981 "is a `sweeping' law designed to `break down all discrimination

27        between black and white men' regarding `basic civil rights' like the entry into contracts." The

COMPLAINT-JURY DEMAND - 8                                                          ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                             P.O. Box 11633
                                                                                   Bainbridge Island, WA 98110
                                                                                   Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 21 -
 Case 2:22-cv-00267-SAB                  ECF No. 1-2       filed 11/07/22       PageID.23 Page 10 of 27




 1        Demand Letter cited to authority establishing both that § 1981 bars discriminatory contracting

 2        with vendors based on the race of their ownership and personnel, and that § 1981 applies

 3        without regard to what race the offending party excludes from contracting.

 4 59. The Demand Letter drew these matters together, warning that each of the Policies facially

 5        commit Starbucks to violating § 1981.

 6             2.        Warning Concerning Title VII

 7 60. The Demand Letter further warned that, through Title VII of the Civil Rights Act of 1964,

 8        Congress had banned discrimination based on race and other immutable characteristics in

 9        employment. As Justice Gorsuch explained for the Supreme Court, "Title VII [ ] command[s]

10        that it is `unlawful ... for an employer to fail or refuse to hire or to discharge any individual,

11        or otherwise to discriminate against any individual with respect to his compensation, terms,

12        conditions, or privileges of employment, because of such individual's race, color, religion, sex,

13        or national origin[.]" Bostock v. Clayton County, Ga., 140 S.Ct. 1731, 1738 (2020); citing 42

14        U.S.C. § 2000e-2(a)(1). "So long as the plaintiff's" classification in any such category is "one

15        but-for cause of that decision, that is enough to trigger the law."

16 61. The Demand Letter drew these matters together, warning that:

17                  a. Policy 1, by promising to hire and promote based on race, appeared to facially

18                       violate Title VII.

19                  b. Policy 7, in creating a promotional aid made available based on race, without any

20                       of the mitigating factors held material by the Supreme Court in United Steelworkers

21                       v. Weber,' appeared to do the same.

22                  c. Policy 3 appeared to violate Title VII, both by incentivizing officers to violate Title

23                       VII in hiring and promotional decisions, and by discriminating based on the race of

24                       officers' workforces in setting officers' compensation levels.

25

26

27
     ' 443 U.S. 193 (1979).
COMPLAINT-JURY DEMAND - 9                                                            ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                               P.O. Box 11633
                                                                                     Bainbridge Island, WA 98110
                                                                                     Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 22 -
 Case 2:22-cv-00267-SAB                   ECF No. 1-2           filed 11/07/22        PageID.24 Page 11 of 27




 1                   d. Policy 4 appeared to violate Title VII as well, as — for the purposes of Title VII — a

 2                       board member can constitute an employee, whose hiring or firing may yield

 3                       liability. Frederick v. UBCJA Local 926, 558 Fed. Appx. 83, 86 (2d Cir. 2014)

 4                       (acknowledging that board members could constitute employees for the purposes

 5                       of Title VII and remanding for further proceedings). Accordingly, the Demand

 6                       Letter warned that, when Starbucks' board nominates (or when its shareholders' act

 7                       on that nomination to elect) a slate of directors chosen based on candidates' races

 8                       (as Policy 4 requires), they will invite charges that they have hired and failed to hire

 9                       individuals as board members "because of such individual's" race, in further

10                       violation of Title VII.

11             3.        Warning Concerning State Laws

12 62. The Demand Letter warned that the Policies also violated the laws of numerous states. It

13         warned that several states have their own non-discrimination statutes prohibiting private

14         discrimination in employment and other contracting based on race, sex, and gender (and often

15         on other bases as well). It cited, specifically, to the New Jersey Law Against Discrimination

16         as a state-level enactment facially violated by the Policies,2 while warning more generally that

17         Starbucks' operations in every state left it susceptible to litigation in every state that has

18         enacted such a state-level civil rights law.

19              4.       Warning Concerning Exposure to Litigation and Material Liability

20 63. The Demand Letter warned that the Policies not only invited litigation through facially

21         violating this wide collection of state and federal laws, but issued that invitation to an

22

23

24
     2   E.g., N.J.S.A. § 10:5-12(1) ("It shall be ... an unlawful discrimination: ... 1. for any person to buy from,
25       sell to, lease from or to, license, contract with, or trade with, provide goods, services or information to,
         or otherwise do business with any person on the basis of the race, creed, color, national origin, ancestry,
26       age, sex, gender identity or expression, affectional or sexual orientation, marital status, civil union status,
         domestic partnership status... of such other person or of such other person's spouse, partners, members,
27       stockholders, directors, officers, managers, superintendents, agents, employees, business associates,
         suppliers, or customers.")
COMPLAINT-JURY DEMAND - 10                                                                  ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                                      P.O. Box 11633
                                                                                            Bainbridge Island, WA 98110
                                                                                            Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 23 -
 Case 2:22-cv-00267-SAB               ECF No. 1-2        filed 11/07/22      PageID.25 Page 12 of 27




 1        extraordinarily broad set of actors. It highlighted by way of example, without suggesting the

 2        listing to be comprehensive, that:

 3                            Every individual discriminated against under Policies 1, 3,

 4                            4, and 7, every supplier discriminated against under Policy

 5                            5, and every media company discriminated against under

 6                            Policy 6 have standing to bring direct actions against

 7                            Starbucks under federal law today or at a future time of their

 8                            choosing. With details varying by state, all such individuals

 9                            have the right — either today, or at a future date of their

10                            choosing — to file administrative enforcement actions, state

11                            law claims, or both against Starbucks because of the

12                            Policies.

13             It continued to warn that:

14                            The U.S. Depai tinent of Justice is empowered to enforce

15                            both § 1981 and Title VII through direct action. So are state

16                            governments, either through actions by state Attorney

17                            Generals or by local prosecutors. Any of these authorities

18                            could bring suit against Starbucks today or at a future date

19                            of their choosing.

20             And it warned that these threats were not mutually exclusive, as:

21                            ...no law would prevent many such individual or authorities

22                            from bringing such actions. And, given the availability of

23                            differing state laws, should many such parties bring such

24                            actions, there would be no vehicle available to Starbucks to

25                            compel their joint administration. The Policies thus invite

26                            not only litigation against many, many parties, but litigation

27                            against many, many parties in many, many forums.

COMPLAINT-JURY DEMAND - 11                                                         ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                             P.O. Box 11633
                                                                                   Bainbridge Island, WA 98110
                                                                                   Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 24 -
 Case 2:22-cv-00267-SAB               ECF No. 1-2          filed 11/07/22     PageID.26 Page 13 of 27




 1             5.        Formal Demand

 2 64. The Demand Letter concluded by demanding that the Starbucks D&O "immediately, publicly

 3        retract the Policies in their entirety and return to compliance with American Civil Rights law."

 4 65. Accordingly, by no later than March 25, 2022, Starbucks and all of the Starbucks D&O knew

 5        that the Policies were illegal and exposed Starbucks to material risks of litigation and liability.

 6 C. Response to Demand

 7 66. On May 2, 2022, Starbucks and the Starbucks D&O, acting through Starbucks' Senior Vice

 8        President, Deputy General Counsel, and Corporate Secretary Jennifer Kraft, confirmed in

 9        writing the Defendants' receipt of the Demand Letter and requested proof of the Plaintiff's

10        stock ownership. Ms. Kraft contemporaneously assured the Plaintiff that "[t]he demand letter

11        and proof of stock ownership will be provided to Starbucks Board of Directors for its

12        consideration at its next regularly scheduled meeting" and promised that the Defendants would

13        "keep you advised of further developments."

14 67. On May 4, 2022, the ACR Project provided Ms. Kraft that proof of the National Center for

15        Public Policy Research's Starbucks stock ownership.

16 68. Subsequently, on July 22, 2022, acting through Ms. Kraft as their counsel, the individual

17        Defendants formally responded to the Demand Letter. Ms. Kraft's letter explained that the

18        Starbucks Directors had "determined that it is not in the best interest of Starbucks to accept the

19        Demand and retract the Policies, and accordingly" the Starbucks directors had "rejected the

20        Demand[.]"

21 69. Starbucks has thus already violated state and federal non-discrimination laws, continues to do

22        so, and will continue to do so unless enjoined by this Court.

23 70. As set out above (and below), each person and entity against which Starbucks has wrongly

24        discriminated could sue Starbucks for that discrimination (as could a wide array of

25        governmental enforcers). Unless Starbucks is enjoined from further discriminatory acts, the

26        roster of potential plaintiffs will only grow.

27

COMPLAINT-JURY DEMAND - 12                                                         ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                             P.O. Box 11633
                                                                                   Bainbridge Island, WA 98110
                                                                                   Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 25 -
 Case 2:22-cv-00267-SAB                  ECF No. 1-2        filed 11/07/22    PageID.27 Page 14 of 27




 1 71. Starbucks' ongoing conduct, and that of the Starbucks' D&O, creates a present and increasing

 2        risk to Plaintiff that the value of its ownership in Starbucks will be wasted as Starbucks faces

 3        unneeded litigation seeking compensation from Starbucks for its discriminatory conduct.

 4                                                V. CAUSE OF ACTION

 5                                           DECLARATORY JUDGMENT:

 6                                    THE POLICIES VIOLATE 42 U.S.C. § 1981

 7 72. Plaintiff hereby incorporates by reference the allegations contained in the preceding paragraphs

 8        of this Complaint.

 9 73. This Count is brought pursuant to RCW 7.24.010 against the Defendants.

10 74. An actual, genuine controversy exists between the parties concerning the legality of the

11        Policies and Starbucks' liability resulting from the Starbucks' D&O's adoption,

12        implementation, and retention of the Policies.

13 75. 42 U.S.C. § 1981 includes the current codification of a core provision of the Civil Rights Act

14        of 1866. As amended, § 1981 provides the following:

15                       (a)    Statement of Equal Rights. All persons within the

16                       jurisdiction of the United States shall have the same right in every
17
                         State and Territory to make and enforce contracts... as is enjoyed
18
                         by white citizens...."
19

20                       (b)     "Make and Enforce Contracts Defined". For purposes of
21                       this section, the term `make and enforce contracts' includes the
22                       making, performance, modification, and termination of contracts,
23                       and the enjoyment of all benefits, privileges, terms, and conditions
24
                         of the contractual relationship.
25

26

27

COMPLAINT-JURY DEMAND - 13                                                          ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                              P.O. Box 11633
                                                                                    Bainbridge Island, WA 98110
                                                                                    Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 26 -
 Case 2:22-cv-00267-SAB                 ECF No. 1-2         filed 11/07/22   PageID.28 Page 15 of 27




 1                       (c)    Protection Against Impairment. The rights protected by this

 2                       section are protected against impairment by nongovernmental
 3                       discrimination and impairment under color of State law.
 4
     76. This language prohibits any racial discrimination in the making, performance, and enforcement
 5
          of contracts. The race of the victim of such discrimination is immaterial to whether racial
 6
          discrimination in contracting violates § 1981.
 7
     77. Section 1981's ban is violated wherever a party's covered contracting behavior would have
 8
          been different but for its counterparty's race.
 9
     78. This ban covers parties' refusal to extend to potential counterparties contractual offers because
10
          of those counterparties' races.
11
     79. Entities can violate § 1981 by discriminating against enterprises based on the race of their
12
          owners or personnel, just as entities can violate § 1981 by discriminating against individuals
13
          because of their race.
14
     80. The Policies nonetheless obligate Starbucks to base its contracting decisions on race.
15
     81. Policy 1 adopts race-based "goals" for Starbucks' allocation of jobs by 2025 at all corporate
16
          levels. Policy 1, thus, requires race-discrimination in Starbucks' hiring, firing, and promotions
17
          at all corporate levels.
18
     82. Policy 2 serves no conceivable purpose other than to facilitate decisionmakers' race-based
19
          choices in employment contracting (specifically, in the making of hiring, firing, and
20
          promotional decisions).
21
     83. Policy 7 expressly creates a program providing "career navigation" advice to Starbucks
22
          employees, in order to facilitate their entry into "the leadership pipeline at Starbucks" and
23
          excludes employees from that program based on their race.
24
     84. Policy 3 both embeds in corporate policy an inducement for particular Starbucks' employees
25
          to engage in race-based hiring and promotions (so barring any contention that individual
26
          decisions undertaken to achieve the "goals" set by Policy 1 were rogue acts) and, in turn,
27

COMPLAINT-JURY DEMAND - 14                                                         ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                             P.O. Box 11633
                                                                                   Bainbridge Island, WA 98110
                                                                                   Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 27 -
 Case 2:22-cv-00267-SAB              ECF No. 1-2        filed 11/07/22      PageID.29 Page 16 of 27




 1        discriminates against executives in setting their compensation, based on the racial mix of their

 2        workforces.

 3 85. Policy 4 requires Starbucks' Directors to discriminate based on race in nominating prospective

 4        future Directors.

 5 86. Policy 5 requires Starbucks to shift $700 million of supplier contracts to "diverse suppliers" to

 6        be chosen based on the race of their ownership. Necessarily, Policy 5 requires Starbucks to

 7        refuse to contract with suppliers for these $700 million worth of supplies based on the race of

 8        their ownership.

 9 87. Policy 6 requires Starbucks to "allocate 15 percent" of its advertising budget to "minority-

10        owned and targeted media companies." Accordingly, Policy 6 doesn't even leave open the

11        possibility that this alteration will result merely from an expansion of Starbucks' advertising

12        spend — instead, affirmatively, it requires the shifting of existing dollars away from venders

13        because of the race of their ownership, as necessary to achieve a quota-like racial allocation of

14        Starbucks' advertising expenditures.

15 88. All of these Policies facially violate § 1981. They expressly require the "but-for" exclusion of

16        individuals and businesses from contracts because of their race (where applied to individuals)

17        and the race of their ownership or workforce (where applied to corporations or executives).

18 89. The Plaintiff therefore asks the Court to declare that these Policies violate 42 U.S.C. § 1981.

19                                         VI. CAUSE OF ACTION

20                                        DECLARATORY JUDGMENT:

21                               POLICIES 1, 3, 4, AND 7 VIOLATE TITLE VII

22 90. The Plaintiff hereby incorporates by reference the allegations contained in the preceding

23        paragraphs of this Complaint.

24 91. This Count is brought pursuant to RCW 7.24.010 against the Defendants.

25 92. "Title VII [ command[s] that it is `unlawful ... for an employer to fail or refuse to hire or to

26        discharge any individual, or otherwise to discriminate against any individual with respect to

27        his compensation, terms, conditions, or privileges of employment, because of such individual's

COMPLAINT-JURY DEMAND - 15                                                        ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                            P.O. Box 11633
                                                                                  Bainbridge Island, WA 98110
                                                                                  Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 28 -
 Case 2:22-cv-00267-SAB                ECF No. 1-2         filed 11/07/22       PageID.30 Page 17 of 27




 1        race, color, religion, sex, or national origin[.]i3 "So long as the plaintiff's" identification in any

 2        such factor is "one but-for cause of that decision, that is enough to trigger the law."'

 3 93. Policies 1, 3, 4, and 7 facially violate that command, by making race a "but-for" cause of

 4        Starbucks' employment decisions.

 5 94. Specifically, Policy 1 makes race a "but-for" cause of Starbucks' hiring and promotional

 6        decisions at all levels.

 7 95. Specifically, Policy 3 makes the race of those comprising an executive's workforce the "but-

 8        for" cause of Starbucks' compensation paid to that executive. Policy 3 also incentivizes

 9        executives to discriminate based on race in their hiring, firing, and promotional decisions, on

10        Starbucks' behalf (so taking ownership for the corporation of any such racial discrimination

11        and dispelling any ambiguity in the corporation's responsibility for any racial discrimination

12        undertaken to meet Policy 1).

13 96. Policy 4 requires Starbucks' Directors to make candidates' race a "but-for" cause of their

14        inclusion or exclusion from a slate of nominations for future directorships.

15 97. Policy 7 makes employees' race a "but-for" cause of the terms, conditions, and privileges of

16        employment Starbucks extends them, in the affirmative service of future racial discrimination

17        in Starbucks' promotions of Starbucks' employees.

18 98. All of these policies facially violate Title VII. They expressly impose "but-for" causation on

19        Starbucks' treatment of individuals as they are considered for hiring or firing, as their

20        compensation is determined, and as they seek and obtain promotions.

21 99. The Plaintiff therefore asks the Court to declare that these Policies violate Title VII.

22

23

24

25

26

27     Bostock v. Clayton County, Ga., 140 S.Ct. 1731, 1738 (2020); citing 42 U.S.C. § 2000e-2(a)(1).
     4 Id. (citing University of Tex. Southwestern Medical Center v. Nassar, 570 U. S. 338, 350 (2013).

COMPLAINT-JURY DEMAND - 16                                                            ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                                P.O. Box 11633
                                                                                      Bainbridge Island, WA 98110
                                                                                      Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 29 -
 Case 2:22-cv-00267-SAB                   ECF No. 1-2       filed 11/07/22      PageID.31 Page 18 of 27




 1                                             VII. CAUSE OF ACTION

 2                                           DECLARATORY JUDGMENT:

 3                       POLICIES VIOLATE THE CIVIL RIGHTS LAWS OF NUMEROUS STATES

 4 100.        The Plaintiff hereby incorporates by reference the allegations contained in the preceding

 5         paragraphs of this Complaint.

 6 101.        This Count is brought pursuant to RCW 7.24.010 against the Defendants.

 7 102.       Numerous states have enacted state statutory provisions paralleling § 1981.5

 8 103.        For example, Washington's Law Against Discrimination,6 California's Unruh Civil Rights

 9         Act,7 New Jersey's Law Against Discrimination,8 and New York's Human Rights Law9 all bar

10         private actors from discriminating in commercial relations at least as sweepingly as does

11         federal law. Still by way of example, at least California, New Jersey, and New York bar such

12         discrimination based on race, sex, and sexual orientation.

13 104.        Moreover, some of the states enacting their own prohibitions on commercial discrimination

14         have chosen to reject any federal precedent limiting the application of related federal laws. For

15         example, the New York Human Rights Law expressly states that:

16                        [t]he provisions of this article shall be construed liberally for the

17                        accomplishment of the remedial purposes thereof, regardless of
18                        whether federal civil rights laws, including those laws with
19                        provisions worded comparably to the provisions of this article, have
20                        been so construed. Exceptions to and exemptions from the
21

22

23

24
     5   Without being comprehensive, at least Washington, California, New York, and New Jersey have such
25 laws and, arguably, at least Delaware and Oregon have laws with the same impact.
   6 Chapter 49.60 RCW.

26   '   Cal. Civ. Code § 51.5(a).

27 8 N.J. Stat. § 10:5-12(1).
   9 N.Y. Exec. Law § 296(2)(a).
COMPLAINT-JURY DEMAND - 17                                                           ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                               P.O. Box 11633
                                                                                     Bainbridge Island, WA 98110
                                                                                     Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 30 -
 Case 2:22-cv-00267-SAB                 ECF No. 1-2         filed 11/07/22        PageID.32 Page 19 of 27




 1                       provisions of this article shall be construed narrowly in order to

 2                       maximize deterrence of discriminatory conduct.10

 3
     105.     Yet the Policies require precisely such discrimination in commerce.
 4
     106.      Accordingly, the Policies facially violate a number of these state-level enactments.
 5
     107.      The Plaintiff therefore asks the Court to declare that the Policies violate relevant state-law
 6
          enactments, including at least those of Washington, California, New Jersey, and New York.
 7
                                             VIII. CAUSE OF ACTION
 8
                                            DECLARATORY JUDGMENT:
 9
                          THE POLICIES EXPOSE STARBUCKS TO MATERIAL LIABILITIES
10
     108.      The Plaintiff hereby incorporates by reference the allegations contained in the preceding
11
          paragraphs of this Complaint.
12
     109.      This Count is brought pursuant to RCW 7.24.010 against the Defendants.
13
     110.      The Policies expose Starbucks to potential litigation, liability to a number of potential
14
          plaintiffs, and a potential host of liabilities to those parties in that litigation.
15
     111.      Countless parties could bring suit against Starbucks under federal law at a time of their
16
          choosing.
17
     112.      Every individual discriminated against under Policies 1, 3, 4, and 7 could do so.
18
     113.      Every supplier discriminated against under Policy 5 could do so.
19
     114.      Every media company discriminated against under Policy 6 could do so.
20
     115.      Alternatively, or in addition, under state law, with details varying by state, all such
21
          individuals could file administrative enforcement actions, state law claims, or both against
22
          Starbucks because of their treatment under the Policies.
23
     116.      Any number of governmental authorities could also bring related actions against Starbucks.
24
     117.      The U.S. Depailment of Justice has standing to enforce 42 U.S.C § 1981 and Title VII
25
          through direct action, at a time of its choosing.
26

27
     10 N.Y. Exec. Law § 300.
COMPLAINT-JURY DEMAND - 18                                                             ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                                 P.O. Box 11633
                                                                                       Bainbridge Island, WA 98110
                                                                                       Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 31 -
 Case 2:22-cv-00267-SAB               ECF No. 1-2        filed 11/07/22       PageID.33 Page 20 of 27




 1 118.        The U.S. Equal Employment Opportunity Commission has standing to enforce those same

 2        statutes through its own investigations of corporate employment practices. EEOC

 3        Commissioners have the authority to launch such investigations under "Commissioner's

 4        charges," whether or not any affected individual files a related administrative complaint.

 5        Accordingly, the EEOC could launch an investigation of Starbucks based on the Policies at a

 6        time of its choosing.

 7 119.        State Attorney Generals also have the option, at a time of their choosing, to bring such

 8        action enforcing 42 U.S.C. § 1981 against Starbucks, to the extent that Starbucks has applied

 9        the Policies against individuals or businesses situated within such State Attorney Generals'

10        jurisdictions. Given Starbucks ubiquity, and the Policies self-ascribed application to "all

11        corporate levels and ... all retail and manufacturing roles[,]" every state Attorney General

12        enjoys this option. Indeed, depending on state law, that option may extend to countless lower-

13        ranking state officials, whether styled as District Attorneys, County Attorneys, or City

14        Attorneys.

15 120.        In all of these potential litigations, an adverse judgment for violation of § 1981 would have

16        no statutory cap on damages, and § 1981 plaintiffs would be entitled to recover punitive

17        damages where the violation sued upon resulted from the violator's malice or reckless or

18        callous indifference to a federally protected right." Where, as here, the Policies were adopted

19        by a prominent organization with experienced staff who knew or should have known of their

20        illegality, and retained after the Starbucks D&O affirmatively knew of the Policies' illegality,

21        the violation at issue would be the kind of intentional violation of § 1981 scorable as having

22        arisen from actors' malice or reckless or callous indifference to a federally protected right.

23 121.        Accordingly, the exposure the Policies have created is not even limited to any party's real

24        economic damages (although those, too, could be at issue in all eventual litigation), before

25

26

27
        11 42 U.S.C. § 1981a(b)(1).
COMPLAINT-JURY DEMAND - 19                                                         ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                             P.O. Box 11633
                                                                                   Bainbridge Island, WA 98110
                                                                                   Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 32 -
 Case 2:22-cv-00267-SAB                   ECF No. 1-2    filed 11/07/22       PageID.34 Page 21 of 27




 1        considering what, if any, damages the Policies would allow such actors to obtain from

 2        Starbucks under the host of relevant state-law enactments.

 3 122.        In addition, no law would prohibit multiplicity. Not only could any state Attorney General

 4        (or local governmental authority authorized to take such action) bring such a suit, every state

 5        Attorney General (and local governmental authority authorized to take such action) could do

 6        so. Given the wide array of states that have state statutory provisions paralleling § 1981, should

 7        many states and/or others do so and include claims under their own state law, the resulting

 8        litigation likely could not be unified by transfer and consolidation into a single suit, or

 9        treatment as multi-district litigation applying uniform law. And the same is true of every

10        private party Starbucks discriminates against under the Policies.

11 123.       All of these actors could bring actions against Starbucks and, should many choose to do so,

12        Starbucks would be forced to defend every action for uncapped damages (including uncapped

13        punitive damages), across these many forums.

14 124.        The Plaintiff therefore asks the Court to declare that the Policies expose Starbucks to

15        material potential liability.

16                                            IX. CAUSE OF ACTION

17                       STARBUCKS D&O'S BREACHES OF THEIR FIDUCIARY OBLIGATIONS

18 125.        The Plaintiff hereby incorporates by reference the allegations contained in the preceding

19        paragraphs of this Complaint.

20 126.        This Count is brought pursuant to RCW 7.24.010 against the Defendants.

21 127.        Some or all of the Starbucks D&O knew or should have known that the Policies were illegal

22        before they adopted and implemented the Policies. Those Starbucks' D&O breached their

23        duties to Starbucks, including their duties of loyalty, good faith, and due care in adopting for

24        Starbucks or allowing Starbucks' launch of the Policies.

25 128.        To the extent that any of the Starbucks D&O did not know that the Policies were illegal

26        before their adoption and implementation, they could have failed to know that the Policies

27

COMPLAINT-JURY DEMAND - 20                                                         ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                             P.O. Box 11633
                                                                                   Bainbridge Island, WA 98110
                                                                                   Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 33 -
 Case 2:22-cv-00267-SAB               ECF No. 1-2        filed 11/07/22       PageID.35 Page 22 of 27




 1        were illegal only by breaching their duties of due care in failing to inquire as to the legality of

 2        the Policies.

 3 129.        In either case, the Starbucks D&O breached their fiduciary obligations to Starbucks in

 4        adopting and implementing the Policies.

 5 130.        Additionally or in the alternative, to the extent that any Starbucks D&O lacked knowledge

 6        of the illegality of the Policies at their adoption and implementation (and managed to lack such

 7        knowledge without having breached their duty of due care by failing to inquire as to the legality

 8        of the Policies), every such Starbucks D&O breached their duties of loyalty, good faith, and

 9        due care in retaining the Policies after learning of their illegality. Every Starbucks D&O had

10        such knowledge by no later than their receipt of the Demand Letter on March 31, 2022.

11 131.        As set out above, the relevant actions and inactions of the Starbucks D&O, undertaken

12        while each was a Starbucks Officer, a Starbucks Director, or both (and therefore a fiduciary of

13        Starbucks), have exposed Starbucks to the risk of a series of potential lawsuits, bringable by

14        many different parties, each of which has both apparent standing and the apparent right to

15        recover both uncapped real economic damages and uncapped punitive damages.

16 132.        These actions and inactions have thus harmed Starbucks and its shareholders, including the

17        Plaintiff.

18 133.        The Plaintiff asks the Court to award Starbucks its damages for the losses suffered by

19        Starbucks as a result of the Starbucks D&O's violations of their fiduciary duties.

20                                           X. CAUSE OF ACTION

21 STARBUCKS D&O's BREACHES OF THEIR FIDUCIARY OBLIGATIONS - ALTERNATIVE THEORY

22 134.        The Plaintiff hereby incorporates by reference the allegations contained in the preceding

23        paragraphs of this Complaint.

24 135.        This Count is brought pursuant to RCW 7.24.010 against the Defendants.

25 136.        The Starbucks D&O have incurred corporate expenses and created corporate liabilities by

26        adopting, implementing, and retaining the Policies.

27

COMPLAINT-JURY DEMAND - 21                                                         ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                             P.O. Box 11633
                                                                                   Bainbridge Island, WA 98110
                                                                                   Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 34 -
 Case 2:22-cv-00267-SAB                 ECF No. 1-2        filed 11/07/22       PageID.36 Page 23 of 27




 1 137.         While the Policies have caused Starbucks and its shareholders to suffer, the Starbucks

 2           D&O have enjoyed the social benefits of making Starbucks adopt, implement, and retain the

 3           Policies.

 4 138.         Adopting, implementing, and retaining the Policies for the Starbucks D&O's personal

 5           benefit, at the expense of Starbucks and its shareholders, constitutes self-dealing.

 6 139.         Washington State law requires fiduciaries who engage in self-dealing to demonstrate that

 7           they have acted in good faith and in a manner that is fundamentally fair. On information and

 8           belief, the Starbucks D&O can show neither.

 9 140.         Accordingly, the Starbucks D&O breached their duty of loyalty to Starbucks and its

10           shareholders (including the Plaintiff) by adopting, implementing, and retaining the Policies

11           with knowledge of their illegality.

12 141.         The Plaintiff asks the Court to award Starbucks damages for the losses suffered by

13           Starbucks as a result of the Starbucks D&O's violations of their fiduciary duties.

14                                             XI. CAUSE OF ACTION

15                                  STARBUCKS D&O'S ULTRA VIRES ACTIONS

16 142.         The Plaintiff hereby incorporates by reference the allegations contained in the preceding

17           paragraphs of this Complaint.

18 143.         This Count is brought pursuant to RCW 7.24.010 against the Defendants.

19 144.         Starbucks has incorporated pursuant to the laws of Washington State.

20 145.         The Restated Articles of Incorporation of Starbucks Corporation state, in relevant part, that

21           the "corporation is organized for the purposes of transacting any and all business for which

22           corporations may be incorporated under Title 23B of the Revised Code of Washington...."

23 146.         Under Washington law, "every corporation has the ... power: ... (p) To transact any lawful

24           business that will aid governmental policy[.]"12 Washington's statute on permissible purposes

25           of corporate entities echoes the same constraint: "Every corporation incorporated under this

26

27
        12   RCW 23B.03.20(2).
COMPLAINT-JURY DEMAND - 22                                                           ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                               P.O. Box 11633
                                                                                     Bainbridge Island, WA 98110
                                                                                     Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 35 -
 Case 2:22-cv-00267-SAB                  ECF No. 1-2        filed 11/07/22       PageID.37 Page 24 of 27




 1           title has the purpose of engaging in any lawful business unless a more limited purpose is set

 2           forth in the articles of incorporation."'

 3 147.         Accordingly, under both the RCW and Starbucks current Articles of Incorporation,

 4           Starbucks is limited to conducting "lawful business."

 5 148.         As set forth above, the Starbucks D&O have adopted, implemented, and retained the

 6           Policies, knowing that they violate a host of state laws (including the laws of Washington) and

 7           federal laws. All acts taken or directed by the Starbucks D&O in adopting, implementing, and

 8           retaining the Policies have been undertaken in conducting other than "lawful business[,]"

 9           including those taken in direct violation of Washington's enacted "governmental policy."

10 149.         Under the law of Washington, corporate action may be challenged as ultra vires by a

11        shareholder seeking to enjoin the act (or in a derivative action against an incumbent or former

12           director, officer, employee, or agent of the corporation).14 Expressly, Washington law

13           empowers a court hearing such an action brought by a shareholder to "enjoin or set aside the

14           act" and to "award damages for loss suffered by the corporation ... because of ... the

15           unauthorized act."15

16 150.         The Plaintiff asks the Court to award Starbucks damages for the losses suffered by

17           Starbucks as a result of the Starbucks D&O's unauthorized, illegal acts.

18                                            XII. CAUSE OF ACTION

19                             PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF

20 151.         The Plaintiff hereby incorporates by reference the allegations contained in the preceding

21           paragraphs of this Complaint.

22 152.         This Count is brought pursuant to Chapter 7.40 RCW against the Defendants.

23 153.         There is probable cause that the Plaintiff will prevail on the merits, and there is a reasonable

24           apprehension of irreparable harm absent injunctive relief.

25

26      13 RCW 23B.03.010.
27      14 RCW 23B.03.40 (1)-(2).
        15 RCW 23B.03.40(3).
COMPLAINT-JURY DEMAND - 23                                                            ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                                P.O. Box 11633
                                                                                      Bainbridge Island, WA 98110
                                                                                      Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 36 -
 Case 2:22-cv-00267-SAB                   ECF No. 1-2      filed 11/07/22     PageID.38 Page 25 of 27




 1 154.        The Plaintiff has alleged and will provide the Court with sufficient evidence to establish

 2        that it has a reasonable probability of prevailing on the merits in demonstrating that the Policies

 3        are illegal. The Policies expressly discriminate based on race, in violation of § 1981, Title VII,

 4        and a host of state civil rights laws, including those of Washington. Accordingly, it is likely

 5        that the Plaintiff will prevail on the merits.

 6 155.        The Policies' violation of state and federal law exposes Starbucks and its shareholders to

 7        material potential liability.

 8 156.        A vast number of potential private and public plaintiffs could bring lawsuits against

 9        Starbucks related to the Policies today, tomorrow, or any other day before the relevant statutes

10        of limitations have run.

11 157.        Any or all of the parties bringing such litigation would be likely to prevail and potentially

12        entitled to recover uncapped real and punitive damages from Starbucks.

13 158.        Accordingly, the Plaintiff has alleged, and will provide the Court with sufficient evidence

14        to establish that Starbucks faces the material risk of irreparable injury pending trial.

15 159.        Moreover, the balance of equities favors injunctive relief. On the one hand, the Starbucks

16        D&O's actions and inactions have threatened to open Starbucks and its shareholders to a

17        pandora's box of potential, nationwide litigation, from a large universe of complainants, each

18        entitled to uncapped real and punitive damages. On the other hand, the Starbucks D&O face

19        no cognizable harm from an order enjoining them from pursuing the illegal Policies pending

20        trial.

21 160.        Accordingly, the Plaintiff asks the Court to enter:

22                       (a)   A preliminary injunction, enjoining the Starbucks D&O from continuing

23 implementation of the Policies pending trial; and

24
                         (b)   A final order following trial, permanently enjoining the Starbucks D&O
25
     from continuing implementation of the Policies.
26

27

COMPLAINT-JURY DEMAND - 24                                                         ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                             P.O. Box 11633
                                                                                   Bainbridge Island, WA 98110
                                                                                   Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 37 -
 Case 2:22-cv-00267-SAB                  ECF No. 1-2         filed 11/07/22        PageID.39 Page 26 of 27




 1                                           XIII. PRAYER FOR RELIEF

 2             WHEREFORE, the Plaintiff prays for relief and judgment as follows:

 3             A.        Enjoin the Starbucks D&O from continuing to implement the Policies, both

 4 preliminarily through trial and, after trial, on a permanent basis;

 5             B.        Declare that the Policies violate § 1981;

 6             C.        Declare that Policies 1, 3, 4, and 7 violate Title VII;

 7             D.        Declare that the Policies violate the laws of numerous states, including at least those

 8 of Washington, California, New Jersey, and New York;

 9             E.        Declare that the Policies expose Starbucks and its shareholders to material liability;

10             F.        Declare that the Starbucks D&O have violated their fiduciary obligations to

11 Starbucks and its shareholders, including the Plaintiff;

12             G.        Award Starbucks its damages from the various individual Defendants' breaches of

13 their fiduciary obligations, including punitive damages;

14             H.        Award Starbucks its damages from the ultra vires acts undertaken by the Starbucks

15 D&O or at their direction, including punitive damages;

16             H.        Award the Plaintiff its reasonable attorneys' fees, costs, and expenses to the extent

17 permitted by law; and

18             I.        Award such other and further relief as the Court deems just and proper.

19                                               XIV. JURY DEMAND

20 The Plaintiff hereby demands a trial by jury.

21 ///

22 ///

23 ///

24 ///

25

26

27

COMPLAINT-JURY DEMAND - 25                                                            ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                                P.O. Box 11633
                                                                                      Bainbridge Island, WA 98110
                                                                                      Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 38 -
 Case 2:22-cv-00267-SAB               ECF No. 1-2   filed 11/07/22   PageID.40 Page 27 of 27




 1 August 30, 2022.

 2                  LAW GROUP P   C                      -AND-

 3                                                       THE AMERICAN CIVIL RIGHTS PROJECT

 4    By:                                                Daniel I. Morenoff,
                                                         pro hac vice to follow
 5           J e B. -r., WSBA # 40104
                                                         P.O. Box 12207
               O Box 11633
 6                                                       Dallas, Texas 75225
             B: bridge Island, WA 98110
                                                         (214) 504-1835
 7           206.701.9243
                                                         dan@americancivilrightsproject.org
             Joel@Ard.law
 8

 9 Attorneys For Plaintiff

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

COMPLAINT-JURY DEMAND - 26                                               ARD LAW GROUP PLLC
NCPPR V. SCHULTZ ETAL.                                                   P.O. Box 11633
                                                                         Bainbridge Island, WA 98110
                                                                         Phone: (206) 701-9243




EX. B - DEFENDANTS' NOTICE OF REMOVAL - 39 -
